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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF VIRGINIA
                            BIG STONE GAP DIVISION

UNITED STATES OF AMERICA                            :
                                                    :    Case No. ________________
               v.                                   :
                                                    :    Violation: 18 U.S.C. § 933(a)
LYNN EDWARD (“PETIE”) BOWEN II                      :

                                     INFORMATION

       The United States Attorney charges that:

                                       COUNT ONE

       1.      In or about June 2022, in the Western District of Virginia, the defendant,

LYNN EDWARD (“PETIE”) BOWEN II, knowingly received from another person, in and

otherwise affecting interstate or foreign commerce, a firearm—specifically a Smith &

Wesson .38 special revolver, knowing and having reasonable cause to believe that such

receipt would constitute a felony (possession and receipt of a firearm by a convicted felon,

in violation of 18 U.S.C. § 922(g)(1)).

       2.      All in violation of Title 18, United States Code, Sections 933(a)(2) and

933(b).

                              NOTICE OF FORFEITURE

       1.      Upon conviction of the felony offense alleged in this Information, the

defendant shall forfeit to the United States:

            a. any firearm involved or used in the commission of said offense, or
               possessed in violation thereof, pursuant to 18 U.S.C. § 924(d) and 28
               U.S.C. § 2461(c).

       2.      The property to be forfeited to the United States includes but is not limited

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to the following property:

            a.      Firearm

                        1. Smith & Wesson, Model 60, .38 Caliber Revolver SN: R99428

       3.        If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

            a. cannot be located upon the exercise of due diligence;
            b. has been transferred or sold to, or deposited with a third person;
            c. has been placed beyond the jurisdiction of the Court;
            d. has been substantially diminished in value; or
            e. has been commingled with other property which cannot be subdivided
               without difficulty;

it is the intent of the United States to seek forfeiture of any other property of the defendant

up to the value of the above-described forfeitable property, pursuant to 21 U.S.C. § 853(p).



DATE: October 2, 2023




 Christopher Kavanaugh by LLB
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CHRISTOPHER KAVANAUGH
United States Attorney




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